Case 2:05-cr-20128-.]PI\/| Document 26 Filed 05/27/05 Page 1 of 3 Page|D 210

  

IN THE UNITED S'I‘ATES DISTRIC'I` COURT
FOR 'I`HE WESTERN DIS'I'RICT OF` TENNESSEE
WESTERN DIVISION

 

U`NI'I`ED STA'I`ES OF AMERICA

Plaintiff,
Criminal No . OS_- 20[ k }9_ Ml

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures helow, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Julv 22, 2005, With trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27‘“h day of May, 2005. »>T\

Th|s document entered on the docket she %pli
with Rule 55 and/or 32(b) FRCrP on

  
 

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So oRDERED this 27th day of May, 2005.

~_ WP_M"O&QE

JO PHIPPS MCCALLA
ITED STATES DISTRIC’I` JUDGE

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ssistant United States Attorney

 

 

 

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euhsel for Defendant(s)

UNITED sTATE DRISTIC COUR - WTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20128 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Frederick H. GodWin

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Honorable J on McCalla
US DISTRICT COURT

